Case 1:05-cv-00326-LG-JMR Document’76-5 Filed 08/14/08 - Page 1 of 38 .

SHIFT TRAINING

mee POLICY AND PROGEDURE DIRECTIVE,

On September 20, 2004, I _/ ELKLD fUECRLEE received a-15- —
Minute Block Trairiing From The Policy And Procedure Directive On Security .

Supervision. Of Holding Cells, During The 2300-0700 Hour Shift Briefing. -

Sgt. Dedri Caldwell #314
Supervisor / Instructor

" Sgt, Nathan Ellsberry #231
~ Supervisor / Instructor
Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 2 of 38
SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

on o98Z Jecuen Ale LUBE RECEIVED a |5- MINUTE BLOCK

. PRINT NAME
TRAINING ON POLICY AND PROCEDURE, SECURITY SUPERVISION OF HOLDING CELLS;

DURING THE 2300/0700 HOUR SHIFTS BRIEFING.

22)

DEPUTY HORA TOREAND b BADGE NUMBER

_ SHIFT SUPERVISORS/INSTRUCTOR |
SGT. LESLIE MATHIS 4228
_ SGT. DEDRI CALDWELL #314 -
Case 1:05-cv-00326-LG-JMR Documient 76-5 Filed 08/14/08 ~ Page 3 of 38
SHIFT TRAINING

(fee: POLICY AND PROCEDURE DIRECTIVE -

" On September 19, 2004, I_- Jee ED. JA ECHIEE ‘received a 15- |
~ Minute Block Training From The Policy And Procedure Directive On Inmate Population
Sheet, During The 2300-0700 Hour Shift Briefing. - .

P?/

a SIGNAFUREAND BADGE NUMBER .

Sgt. Nathan Elisberry #231
~ : Supervisor / Instructor

Set. Dedri Caldwell #314
Supervisor / Instructor
Case 1:05-cv-00326-LG-JMR . Document 76-5 ° Filed 08/14/08 | Page 4 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE.

— On September 12 , 2004, LE We. t GE. - received a 15-- :
Minute Block Training From The Policy And Procedure Directive On Counts, During
_ The 2300-0700 Hour Shift Briefing.

Set. Dedri Caldwell #314
Supervisor / Instructor
Case 1:05-cv-00326-LG-JMR ~ Document 76-5 Filed 08/14/08 ~ Page 5:of-38
SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE |

ON, G7 1 Tesepblecttor RECEIVED a 15- MINUTE TE BLOCK

- +, (PRINT NAME
I ‘RAINING ON POLICY AND PROCEDURE, CRIME SCENE PROCEDURES: DURING THE

2300/0700 HOUR SHIFTS BRIEFING.

aS OO BADGE NUMBER
SHIFT SUPERVISORS/INSTRUCTOR oe - oo
SGT. LESLIE MATHIS #228
Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 6 of 38

SHIFT TRAINING

POLICY AND. PROCEDURE DIRECTIVE

ON. F/G 04, | S040 SVE SE RECEIVED a 15-MINUTE BLOCK
: PRINT NAME
TRAINING ON POLICY AND PROCEDURE, CUSTODY INQUIRIES; DURING THE 2300/0700

’ HOUR SHIFTS BRIEFING.

CARR 20)
ew AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. LESLIE MATHIS #228

'  -SGT. DEDRI CALDWELL #314
Case 1:05-cv-00326-LG-JMR “Document 76-5 — Filed 08/14/08 . Page 7 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIV E

ON, 00h, uw Witten. RECEIVED EDalS- MINUTE BLOCK

PRINT NAME
TRAINING ON CORRECTIONS MEMO, PRE-TIRAL RELEASE FORMS; DURING THE 2300/0700

HOUR SHIFTS BRIEFING.

SHIFT SUPERVISORS/INSTRUCTOR

"SGT. LESLIE MATHIS #228 ~

" SGT. NATHAN ELLSBERRY #231.
Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 - -Page 8 of 38
SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON OPIS. | EE COLLD Wenner __ RECEIVED a I5-MINUTE BLOCK

"PRINT NAME
TRAINING ON POLICY AND PROCEDURE, PERSONAL PROPERTY INVENTORY; DURING THE

2300/0700 HOUR SHIFTS BRIEFING.

- (EARN BADGE NUMBER
c : , .

SHIFT SU PERVISORS/INSTRUCTOR
_ SGT. LESLIE MATHIS #228
Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 ~ Page 9 of 38

_ SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

c
ON, 043304 | Jeeeen PIGCHIBE RECEIVED a 15-MINUTE BLOCK
PRINT NAME
TRAINING ON POLICY AND PROCEDURE, RIOTS AND DISTURBANCES; DURING THE
2300/0700 HOUR SHIFTS BRIEFING. |

SHIFT SUPERVISORS/INSTRUCTOR
SGT. LESLIE MATHIS #228
SGT. DEDRI CALDWELL #314
Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 10 of 38
SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

on, O40, L SRE: DP? Mepis _ RECEIVED a.15- MINUTE BLOCK
- PRINT NAME.
“TRAINING ON POLICY AND PROCEDURE, BOMB THREAT; DURING THE 2300/0700 HOUR -

SHIFTS BRIEFING.

/_DEROTY SIGNATURE AND BADGE NUMBER

- SHIFT SUPER VISORS/INSTRUCTOR
“SGT. LESLIE MATHIS 4228
SGT. NATHAN ELLSBERRY #231
Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 11 of 38 .

HARRISON COUNTY SHERIFF’S DEPARTMENT

Corrections Division
POLICY SIGNATURE SHEET
1, eecep NEtHSEE ____ wave received a copy of the

following updated policy & procedure:

ORGANIZATION CHART

As supervisor, I will assure employees assigned to my

.command are taught the correct procedure and abide by it.
Those employees found to be in violation after having been
taught, will: be counseled and a narrative written and
forwarded to the Security Captain. Repeated violations will
results in disciplinary actions.

< get e>00 BZ 02L—

Officer's Name ( Date issued

Nav. \WA O\ gyre Q4 64. OU

Supetvisor’s Signature Date

Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 12 of 38
SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ES > ON, OBA ete WEMISE! RECEIVED a.15-MINUTE BLOCK: ~
tp PRINTNAME . OE
“ “TRATNING ON POLICY AND PROCEDURE, INMATE WORKER GUIDELINES; DURING THE. .

2300/0700 HOUR SHIFTS BRIEFING.

_ SHIFT SUPERVISORS/INSTRUCTOR
-SGT. LESLIE MATHIS #228
Case 1:05-cv-00326-LG-JMR ~ Document 76-5 Filed 08/14/08 Page 13.0f 38

~ SHIP ET T-ERAINING~ eee we a nti une oe

On October 24; 2004, L- Te seeped Metis: __=. received a 15-
Minute Block Training From The Policy And Procedure Directive On Escape Procedure,
~ During The 2300-0700 Hour Shift: Briefing.

_ Za sonar gaSSERTNCER 7
Set. Dedri Caldwell #314

Supervisor / Instructor

Set. Nathan Ellsberry #231
Supervisor / Instructor

Case 1:05:Cv-00826-LG-IMR - Document 76-5 Filed 08/14/08 Page 14 of 38
SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE |

ON, 1 L003. I Jeu NIEHUSE _ -REGEIVED a 15- MINUTE BLOCK:

PRINT NAME .
7 -RAINING ON POLICY AND PROCEDURE, EMERGENCY NOTIFICATION PROTOCOL;

_ DURING THE 2300/0700 HOUR SHIFTS BRIEFING.

SHIFT. SUPERVISORS/INSTRUCTOR._
‘SGT. LESLIE MATHIS #228
~ “Case 1:05-cv-00326-LG-JMR' Document 76-5 _ Filed 08/14/08 Page 15 of 38
SHIFT. TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON, 02004, 1 JERLED SIBLE ____ RECEIVED a 15-MINUTE BLOCK

~ PRINT NAME—

TRAINING ON POLICY ‘AND PROCEDURE, NATURAL DISASTER PLANS; DURING THE
* 2300/0700 HOUR SHIFTS BRIEFING. .

Suter SUPERVISORS/INSTRUCTOR

~ OSGT. LESLIE MATHIS #228

Case 1:05-cv-00326-LG-JMR " Document 76-5 . Filed 08/14/08 Page 16 of 38
_ SHIFT TRAINING
POLICY AND PROCEDURE DIRECTIVE
on, 073004 egg MEH: SE _ RECEIVED a 15- MINUTE BLOCK

TRAINING ON POLICY AND PROCEDURE,. SUICIDE | WATCH; DURING THE 2300/0700 HOUR
_. SHIFTS BRIEFING.

SHIFT SUPERVISORS/INSTRUCTO
- SGT. LESLIE MATHIS 4228

Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 17 of 38

SHIFT TRAINING ...

POLICY AND PROCEDURE DIRECTIVE -

. - .
ON, 049304 | JRL SUHPISE RECEIVED a 15-MINUTE BLOCK

PRINT NAME
TRAINING ON POLICY AND PROCEDURE, RIOTS AND DISTURBANCES; DURING THE
2300/0700 HOUR SHIFTS BRIEFING.

SHIFT SUPERVISORS/INSTRUCTOR
SGT. LESLIE MATHIS #228
' SGT. DEDRI CALDWELL #314
Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 18 of 38
SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ONCIAA || Teeen SULA LIVE RECEIVED a 15- MINUTE BLOCK —
PRINT NAME
TRAINING ON POLICY AND PROCEDURE, SECURITY SUPERVISION OF HOLDING CELLS:
DURING THE 2300/0700 HOUR SHIFTS BRIEFING.

BERIT RAD BAD ZZ]

£

” SHIFT SUPERVISORS/INSTRUCTOR
’ SGT. LESLIE MATHIS #228
SGT. DEDRI CALDWELL #314
Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 19 of 38.

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE.

ON. BFL, JED We COU BLE RECEIVED a 15-MINUTE BLOCK
- ° “PRINT NAME .
TRAINING ON POLICY AND PROCEDURE, CRIME SCENE PROCEDURES: DURING THE

2300/0700 HOUR SHIFTS BRIEFING.

. ae SGHATURE AND BADGE NUMBER

“SHIFT SUPERVISORS/INSTRUCTOR

' SGT. LESLIE MATHIS #228
Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 20 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

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TRAINING ON POLICY AND PROCEDURE, HURRICANE PROCEDURES; DURING THE
2300/0700 HOUR SHIFTS BRIEFING. oe

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oe Ra TONaNe HREGE NOMI

- SHIFT SUPERVISORS/INSTRUCTOR
SGT. LESLIE.MATHIS #228
- SGT. DEDRI CALDWELL #314
_ SGT. NATHAN ELLSBERRY #231 ~
Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 21 of 38 -
SHIFT TRAINING |

POLICY AND PROCEDURE DIRECTIVE

on, O32 6A_ JRRED PETE. RECEIVED a 15-MINUTE BLOCK
PRINT NAME
TRAINING ON POLICY AND PROCEDURE, INMATE CUSTODY RECORDS; DURING THE

2300/0700 HOUR SHIFTS BRIEFING.

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SHIFT SUPERVISORS/INSTRUCTOR
SGT. DEDRI CALDWELL #314
SGT. NATHAN ELLSBERRY #231
Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 22 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON, WHO TLD Wenge _. RECEIVED a 15-MINUTE BLOCK

PRINT NAME _
TRAINING ON CORRECTIONS MEMO, PRE-TIRAL RELEASE FORMS; DURING THE 2300/0700

. HOUR SHIFTS BRIEFING.

SHIFT SUPERVISORS/INSTRUCTOR
SGT. LESLIE MATHIS #228
_ SGT. NATHAN ELLSBERRY #231
Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 23 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

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hp ald Macaw ATTENDED A TRAINING CLASS
(NAME)

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TRAINING CREDIT HOUR (S) / MINUTE (S).

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NAME OF CERTIFYING INDIVIDUAL:
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Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 24 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

te JONGVILBE. _ ATTENDED A TRAINING CLASS
(NAME)

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ON 15. L7LE ____202Y. AND RECEIVED BS

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NAME OF CERTIFYING INDIVIDUAL: HAIL.

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Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 25 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

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(NAME)
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_ ‘TRAINING CREDIT HOUR (S) / MINUTE (S).

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Case 1:05-cv-00326-LG-JMR Document 76-5° Filed 08/14/08 Page 26 of 38

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Page 27 of 38

Filed 08/14/08

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Board on Jail Officer Standards and Training

Hereby awards this

Professional Certifeoate

Case 1:05-cv-Q0326-LG-JMR ~ Degumenpt 76-5

TO
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Yi.
reg
Ms This 1° day of September, 2003
os As being qualified to be a Mississippi Detention Officer under
ys Provisions of Chapter 482, General Laws of Mississippi, 1999.
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A Certificate No. D-01390 Standards and Training Standards and Training

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Page 28 of 38

Filed 08/14/08

“Case 1:05-cv-00326-LG-JMR — Document 76-5

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Harrison County Sheriff's Department
The University of Southern Mississippi-Gulf Coast

Thes ts to cently that

Jerred Necaise

BASIC CORRECTIONAL OFFICER’ s TRAINING

(80 HOURS)

e, 2008

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Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 29 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

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(NAME)

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ON ___FAWG | : 20 DL. AND RECEIVED _& KS.

‘TRAINING CREDIT HOUR (S) / MINUTE (S).

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NAME OF CERTIFYING INDIVIDUAL: ce Ey

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Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 30 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

OOK coc) Nea Gg \SO_arrenpeD A TRAINING CLASS

(NAME)

. . TITLED: MECHANICAL ADVANTAGE CONTROL HOLD 3_M.A.C.H.3

ON _ 2 July 26,2002. _ AND RECEIVED 10

TRAINING CREDIT HOUR (S) / MINUTE (S).

CERTIFIED SIGNATURE: _:

NAME OF CERTIFYING INDIVIDUAL: LOQ( (yA __ CaTes

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Case 1:05-cv-00326-LG-JMR~ Document 76-5 Filed 08/14/08 Page 31 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

erred Neco. Se ATTENDED A TRAINING CLASS
(NAME)

TITLED: MECHANICAL ADVANTAGE CONTROL HOLD 1. M.A.C.H. 1

OS Son O2_
ON ~2-Suly 26,2002— AND RECEIVED 10 .

_ TRAINING CREDIT HOUR (S) / MINUTE (S). -

‘CERTIFIED SIGNATURE: SOAS

- “NAME OF CERTIFYING INDIVIDUAL: lorena _GATES,
(PRINT)

Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 32 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

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ON Bev os 208. ANDRECEIVED <2 Shyes-

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Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 33 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

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(NAME)

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Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 34 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

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Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 35 of 38

“HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

Te cred Neta \S© _ ATTENDED A TRAINING CLASS ©

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Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 36 of 38

t
~ Name Necaise, Tepe Ao!
Date lO ~f2-01 ,

SUDDEN CUSTODY DEATH SYNDROME
EXAM

1. List 3 terms, conditions, that can cause SUDDEN CUSTODY DEATH.
1. Cocring 2 Excited Defieium

3. “Positional eesteniat ksghyxia +. Psychosis

2. List 8 of the Identifiable Symptoms and Behavioral Patterns listed that may warn you of a potential Sudden

Custody Death Syndrome susceptible subject.

1. _violtnt beh pyioe 2. PREANIOTA

3. Ylolenee fowrnrd otters 4, Dinhtel Pipi [5

5. violence townro objects 6. Sudhen excesive sfeongHn
ae ncoheennt 8. sell illickedl in eyes

. 3. ‘Impact weapons and pain compliance techniques usually work on these subjects.

__ True False

’ 4. You should try to take these types of subjects down immediately when you encounter them, one on one.

: True | Xx False

5. What restraint position should you never use to secure a violent prisoner?

tes Hp he

6. What position should you get a subject into as quickly as possible after restraint? -

sitting

Case 1:05-cv-00326-LG-JMR Document 76-5 Filed 08/14/08 Page 37 of 38

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80 HOUR CORRECTIONAL TRAINING

_ STUDENT’S NAME Trego. MLM

STUDENT’S a
AGENCY _#051) DATE

1. My, , Administrative (7.25 hours) —

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“2. Af 4) The Origin of the American 5 ail ( 1 how)

LAY
3. LM

4, ZA Litigation Procedures (I hour)

glégal Rights & Responsibilities @ hours),

f Written Communication a tou)

wv

6. “if iff Interpersonal Communication Skills sc how)

7. oh N 4 —Dealing with: Stress ( hour)

oO

tr f)_ Basic Jail Security Principles @. 25 hows)

- 9: EK B Booking & Admissions a our)
10. hy Classification of Inmates a. 5 hours)

in j i _ Disciplinary Procedures (1:5 hours)

12, Cif) Contraband Control (1.75 hours)
13. A Key & Tool Control (1 hour)
14. CK

45. Cay Escort of Inmétes ql hour)

7

- . 16; WwW __~ sage Incidents (1 hour)

te LA atrol Procedures ( 1.75 hours)

ip Defensive Tactics (28 hours)

V, (| Release Procedure (1.25 hours)

17.
18
Case 1:05-cv-00326-LG-JMR Document 76-5 — Filed 08/14/08 Page 38 of 38.

Harrison County cv. —.... Re.
Department Training Division
Post Office Box 1480
Gulfport, Mississippi 39502
(228) 896-0601
— EQUIPMENT RECEIPT —
. Student Information
YY
Name WEYSE,, Leap Date Out Kb so- Ai2_
Agencyy 4252 DateDue ln f.
Phone @2@)533-37W ~~ Badge# <22/ Rank Sear Date In Co lél
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item Description Quantity TOTAL
—1° BROWN STUDENT - NATIONAL SHERIFFS' ASSOCIATION-+"~ . [iateoc oO
1 EACH 1 EACH

JAIL OFFICER'S TRAINING MANUAL

Total Items /

Signature C_
(— O Academy Property )
O Handouts (Retum Any Extras)
@ Training Department Equipment —
LL) LOOLMECUSE
(Print): Z Equipment Return
LF Z O Good Condition -
(Signature) O Poor Condition (Narrative Needed)

NN :

Explanation
EQUIPMENT ISSUED BY
CAPTAIN LACY

By Signing this form | agree to reimburse H.C.S.D. the cost of my student handbook if it is lost or damaged. | also
understand that my Department will be notified of any incidents in voiding H.C.S.D. property

